20-12345-mg        Doc 2494   Filed 09/18/23 Entered 09/18/23 18:58:16         Main Document
                                          Pg 1 of 3




PACHULSKI STANG ZIEHL & JONES LLP
James I. Stang, Esq. (admitted pro hac vice)
Karen B. Dine, Esq.
Gillian N Brown, Esq.
Brittany M. Michael, Esq.
780 Third Avenue, 36th Floor
New York, New York 10017
Telephone: 212- 561-7700
Facsimile: 212-561-7777
Email: jstang@pszjlaw.com
        kdine@pszjlaw.com
        gbrown@pszjlaw.com
        bmichael@pszjlaw.com

Counsel to the Official Committee of Unsecured Creditors

UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK

In re:                                               ) Case No. 20-12345 (MG)
                                                     )
THE ROMAN CATHOLIC DIOCESE OF                        ) Chapter 11
ROCKVILLE CENTRE, NEW YORK,                          )
                                                     )
                              Debtor.                )
                                                     )


      CERTIFICATION OF NO OBJECTION REGARDING (1) THIRTY-FIRST
 MONTHLY FEE STATEMENT OF PACHULSKI STANG ZIEHL & JONES LLP FOR
   PROFESSIONAL SERVICES RENDERED AND DISBURSEMENTS INCURRED
  AS COUNSEL TO THE OFFICIAL COMMITTEE OF UNSECURED CREDITORS
FOR THE PERIOD FROM JULY 1, 2023 THROUGH JULY 31, 2023; AND (2) THIRTY-
     THIRD MONTHLY FEE STATEMENT OF BURNS BAIR LLP, AS SPECIAL
    INSURANCE COUNSEL TO THE OFFICIAL COMMITTEE OF UNSECURED
          CREDITORS FOR PROFESSIONAL SERVICES RENDERED
            AND DISBURSEMENTS INCURRED FOR THE PERIOD
               FROM JULY 1, 2023 THROUGH JULY 31, 2023


         Pursuant to 28 U.S.C. § 1746 and Rule 9075-2 of the Local Bankruptcy Rules for the

Southern District of New York, the undersigned counsel for the Official Committee of

Unsecured Creditors (the “Committee”) hereby certifies as follows:




DOCS_NY:48486.2 18491/002
20-12345-mg          Doc 2494      Filed 09/18/23 Entered 09/18/23 18:58:16                     Main Document
                                               Pg 2 of 3



        1.       On November 4, 2020, this Court entered the Order Authorizing Procedures for

Interim Compensation and Reimbursement of Expenses of Professionals [Docket No. 129] (the

“Interim Compensation Order”),1 which authorized professionals retained pursuant to an order of

this Court in the chapter 11 case to seek interim payment of compensation and reimbursement of

expenses in accordance with the procedures set forth in the Interim Compensation Order.

        2.       On August 31, 2023, the Committee filed the following:

                     For Pachulski Stang Ziehl & Jones LLP (“PSZJ”): Thirty-First Monthly Fee
                      Statement of Pachulski Stang Ziehl & Jones LLP for Professional Services
                      Rendered and Disbursements Incurred as Counsel to the Official Committee
                      of Unsecured Creditors for the Period from July 1, 2023 through July 31,
                      2023 [Docket No. 2453] (the “PSZJ Monthly Fee Statement”); and

                     For Burns Bair LLP: Thirty-Third Monthly Fee Statement of Burns Bair
                      LLP, as Special Insurance Counsel to the Official Committee of Unsecured
                      Creditors for Professional Service Rendered July 1, 2023 through July 31,
                      2023 [Docket No. 2454] (together with the PSZJ Monthly Fee Statement, the
                      “Monthly Fee Statements”).


        3.       The Monthly Fee Statements were served on August 31, 2023 [Docket No. 2455].

        4.       The Monthly Fee Statements complied with the requirements set forth in the

Interim Compensation Order.

        5.       Pursuant to the Interim Compensation Order, September 15, 2023 was the

deadline to object to the Monthly Fee Statements (the “Objection Deadline”). As of the filing of

this Certification of No Objection, more than forty-eight (48) hours have elapsed since the

Objection Deadline. To the best of my knowledge, no responses to the Monthly Fee Statements

have been (a) filed with the Court on the docket of the above-captioned chapter 11 case, or (b)

served on PSZJ.




1
 Capitalized terms not otherwise defined herein shall have the meanings ascribed to such terms in the Interim
Compensation Order.

                                                         2
DOCS_NY:48486.2 18491/002
20-12345-mg        Doc 2494     Filed 09/18/23 Entered 09/18/23 18:58:16           Main Document
                                            Pg 3 of 3



        6.       Pursuant to the Interim Compensation Order, upon filing of this Certification of

No Objection, the Debtor is authorized to pay eighty percent (80%) of the fees and one hundred

percent (100%) of the expenses requested in the Monthly Fee Statements and without the need

for entry of a Court order approving the Monthly Fee Statements.

        Pursuant to 28 U.S.C. § 1746, I declare under penalty of perjury that the foregoing is true

and correct to the best of my knowledge and belief.


Dated: September 18, 2023                      PACHULSKI STANG ZIEHL & JONES LLP


                                               /s/ Gillian N. Brown
                                               James I. Stang, Esq. (admitted pro hac vice)
                                               Karen B. Dine, Esq.
                                               Gillian N Brown, Esq.
                                               Brittany M. Michael, Esq.
                                               780 Third Avenue, 36th Floor
                                               New York, New York 10017
                                               Telephone:       (212) 561-7700
                                               Facsimile:       (212) 561-7777
                                               Email:          jstang@pszjlaw.com
                                                               kdine@pszjlaw.com
                                                               gbrown@psjzlaw.com
                                                               bmichael@pszjlaw.com

                                               Counsel to the Official Committee of Unsecured
                                               Creditors




                                                  3
DOCS_NY:48486.2 18491/002
